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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------------x
                                                                          :
 In re                                                                    :            Chapter 11 Case No.
                                                                          :
 LEHMAN BROTHERS HOLDINGS INC., et al.,                                   :            08-13555 (SCC)
                                                                          :
                                     Debtors.                             :            (Jointly Administered)
                                                                          :
 -------------------------------------------------------------------------x            Ref. Docket Nos. 47973-47975

                                             AFFIDAVIT OF SERVICE

 STATE OF NEW YORK  )
                    ) ss.:
 COUNTY OF NEW YORK )

 CAROL ZHANG, being duly sworn, deposes and says:

 1. I am employed as a Noticing Coordinator by Epiq Bankruptcy Solutions, LLC, located at 757
    Third Avenue, New York, New York 10017. I am over the age of eighteen years and am not
    a party to the above-captioned action.

 2. On January 23, 2015, I caused to be served the:

     a) “Notice of Withdrawal of Two Hundred Seventy-Seventh Omnibus Objection to Claims
        (No Guarantee Claims) Solely as to Certain Claim,” dated January 23, 2015 [Docket No.
        47973], (the “277th Omnibus Objection NOW”),

     b) “Notice of Withdrawal of Two Hundred Sixty-First Omnibus Objection to Claims (No
        Guarantee Claims) Solely as to Certain Claim,” dated January 23, 2015 [Docket No.
        47974], (the “261st Omnibus Objection NOW”), and

     c) “Notice of Withdrawal of Two Hundred Thirty-Third Omnibus Objection to Claims (No
        Liability Derivatives Claims) Solely as to Certain Claim,” dated January 23, 2015
        [Docket No. 47975], (the “233rd Omnibus Objection NOW”),

     by causing true and correct copies of the:

            i. 277th Omnibus Objection NOW, 261st Omnibus Objection NOW, and 233rd Omnibus
               Objection NOW, to be delivered via electronic mail to those parties listed on the
               annexed Exhibit A,




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           ii. 277th Omnibus Objection NOW, 261st Omnibus Objection NOW, and 233rd Omnibus
               Objection NOW, to be enclosed securely in separate postage pre-paid envelopes and
               delivered via overnight mail to those parties listed on the annexed Exhibit B,

           iii. 277th Omnibus Objection NOW, to be enclosed securely in separate postage pre-paid
                envelopes and delivered via first class mail to those parties listed on the annexed
                Exhibit C,

           iv. 261st Omnibus Objection NOW, to be enclosed securely in separate postage pre-paid
               envelopes and delivered via first class mail to those parties listed on the annexed
               Exhibit D, and

            v. 233rd Omnibus Objection NOW, to be enclosed securely in separate postage pre-paid
               envelopes and delivered via first class mail to those parties listed on the annexed
               Exhibit E.

 3. All envelopes utilized in the service of the foregoing contained the following legend:
    “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
    ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                                 /s/ Carol Zhang
                                                                                     Carol Zhang
 Sworn to before me this
 26th day of January, 2015
 /s/ Sidney J. Garabato
 Sidney J. Garabato
 Notary Public, State of New York
 No. 01GA6218946
 Qualified in New York County
 Commission Expires March 15, 2018




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                                EXHIBIT A
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 adiamond@diamondmccarthy.com               austin.bankruptcy@publicans.com
 aeckstein@blankrome.com                    avenes@whitecase.com
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                                EXHIBIT B
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 OFFICE OF THE US TRUSTEE
 U.S. FEDERAL OFFICE BUILDING
 ATTN: WILLIAM K. HARRINGTON, ESQ.,
 SUSAN D. GOLDEN, ESQ.
 ANDREA B. SCHWARTZ, ESQ.
 201 VARICK STREET, ROOM 1006
 NEW YORK, NY 10014


 INTERNAL REVENUE SERVICE
 SPECIAL PROCEDURES BRANCH
 ATTN: DISTRICT DIRECTOR
 290 BROADWAY
 NEW YORK, NY 10007


 DRESSLER & PETERS, LLC
 ATTN: JAMES JOYCE, ESQ.
 (COUNSEL TO TOM WOLF)
 111 W WASHINGTON STREET SUITE 1900
 CHICAGO, IL 60602
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LBH_NOW_OMNI 277 (D.I. 47973)_1-23-15                    LBH_NOW_OMNI 277 (D.I. 47973)_1-23-15

BANCA ITALEASE S.P.A                                     ANDREW B. ECKSTEIN
C/O LOVELLS STUDIO LEGALE                                BANCA ITALEASE S.P.A
ATTN: FEDERICO DEL MONTE                                 C/O BLANK ROME LLP
VIA SANTA MARIA ALLA PORTA 2                             405 LEXINGTON AVENUE
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LBH_NOW_OMNI 261 (D.I. 47974)_1-23-15                    LBH_NOW_OMNI 261 (D.I. 47974)_1-23-15

LUTHERAN SENIOR SERVICES                                 SPENCER FANE BRITT & BROWNE LLP
1150 HANLEY INDUSTRIAL COURT                             ATTN: KARL E. HOLDERLE
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                                                         SAINT LOUIS , MO 63105
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LBH_NOW_OMNI 233 (D.I. 47975)_1-23-15                    LBH_NOW_OMNI 233 (D.I. 47975)_1-23-15

TURKIYE SINAI KALKINMA BANKASI AS                        CLIFFORD CHANCE
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